!

Case 2:05-cr-20142-.]DB Document 35 Filed 06/30/05 Pagelof`S Page 1

. -:Flf"£D BV _____ D_C,
[N THE UNITED STATES DISTRICT COURT
FOR THE wESTERN DISTRICT OF TENNESSEE 05 JUN 30 FH 3a 55

WESTERN DIVISION
tons ii adm
UNITED STATES OF AMERICA, US. DMU}HT
W OF `H, l.\lEMPl*llS
Plaintiff,
v. No. 05-20142 B
CALVIN MCNARY,
Defendant.

 

ORDER DENYING DEFENDANT'S PRO _S_}._E REQUEST FOR BOND
AND SUPPRESSION HEARING

 

Before the Court is the June 20, 2005 p__r_g §§ motion of the Defendant, Calvin McNary, for
bond and a suppression hearingl Under the local rules of this district,

[a] party represented by counsel who has appeared in a case may not act on his or her

own behalf unless that party’s attorney has obtained leave of the court to withdraw

as counsel of record, provided that the court may, in its discretion, hear a party in

open court, notwithstanding the fact that the party is currently represented by counsel

of record.
LR83.l(d), Local Rules of the U.S. Dist. Ct. for the W. Dist. of Tenn. (the “Local Rule").

According to the docket, counsel Was appointed to represent the Defendant on the same day
the instant motion was filed. McNary, by invoking his right to be represented by counsel, waived
his right to represent himself As a consequence, the request, which appears to have been prepared

and filed without the aid of or adoption by his Court-appointed counsel, violates the Local Rule.

Accordingly, the motion is DENIED.

This doct.ment entered on the docket sheet |n com li nce
with Rule 55 andfor 32¢b) FHCrP on " '

Case 2:05-cr-20142-.]DB Document 35 Filed 06/30/05 Page 2 of 3 Page|D 32

IT Is So oRDERED thiszgr§ay ofJune, 2005.

 

J. D IEL BREEN x
UNI DsrA'rEs DISTRICTJ GE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:05-CR-20142 Was distributed by faX, mail, or direct printing on
July l, 2005 to the parties listed.

 

 

Lee Hovvard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

l\/lemphis7 TN 38103

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

